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16
                              UNITED STATES DISTRICT COURT
17
                     FOR THE CENTRAL DISTRICT OF CALIFORNIA
18
      SOFTWARE FREEDOM                         )   Case No.: 8:21-cv-01943-JLS-KES
19
      CONSERVANCY, INC., a New York            )
20    non-profit corporation,                  )   REPLY MEMORANDUM OF
21
                                               )   POINTS AND AUTHORITIES IN
                      Plaintiff,               )   SUPPORT OF MOTION OF
22                                             )   PLAINTIFF SOFTWARE FREEDOM
23                       v.                    )   CONSERVANCY, INC. TO
                                               )   REMAND ACTION TO STATE
24
      VIZIO, INC., a California corporation;   )   COURT
25    and DOES 1 to 50, inclusive,             )   Date:      May 13, 2022
                                               )   Time:      10:30 a.m.
26
                    Defendants.                )   Place:     Courtroom 8A, First Street
27                                             )              U.S. Courthouse
28                                             )   Judge:     Hon. Josephine L. Staton
                                               )

         REPLY MEMO OF POINTS AND AUTHORITIES IN SUPPORT OF MOTION OF PLAINTIFF
         SOFTWARE FREEDOM CONSERVANCY, INC. TO REMAND ACTION TO STATE COURT
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1     I.      INTRODUCTION AND SUMMARY OF ARGUMENT
2             Defendant Vizio, Inc.’s (“Vizio”) opposition to the Motion to Remand (the
3     “Motion”) filed by Plaintiff Software Freedom Conservancy, Inc. (“SFC” or
4     “Conservancy”) relies upon a complete misstatement of the test for copyright
5     preemption that has no support in law or logic and is contrary to controlling Ninth
6     Circuit authority. Vizio’s attempts to use extrinsic evidence, statements, and arguments
7     from other unrelated litigation and pre-lawsuit communications by SFC to Vizio to
8     defeat the Motion likewise lack merit and are contrary to law. Accordingly, this Court
9     should grant SFC’s Motion and remand this action to Orange County Superior Court.
10            Vizio asserts, without basis or support, that SFC’s state law claims for breach of
11    contract and declaratory relief are preempted by the Copyright Act because, “if a state-
12    law claim could be asserted under the Copyright Act, it is preempted and subject to
13    removal.” (Opposition (“Opp.”) at 1:18-19.) Vizio is wrong as a matter of fact and law.
14            First, Vizio’s contention is directly contrary to the “extra element” test used by the
15    Ninth Circuit to determine whether state law claims are preempted by the Copyright Act.
16    As SFC established in its moving papers, SFC’s claim that Vizio has breached the
17    Source Code Provision in the GPL Agreements1 by failing to make the source code for
18    the operating systems of Vizio’s “smart TVs” freely available is purely contractual and
19    is not equivalent to any of the exclusive rights found in Section 106 of the Copyright
20    Act. Therefore, SFC’s state law breach of contract claims include an “extra element”
21    that makes the rights SFC asserts qualitatively different from those protected by the
22    Copyright Act and thus transforms the nature of this action. (See, e.g., Memo at 1:20-
23    2:25, 9:11-13:18.)
24            Second, contrary to Vizio’s unsupported assertion, Ninth Circuit case law
25    specifically demonstrates that copyright infringement claims and breach of contract
26    claims can and do coexist, even where they both depend on the breach of the same term.
27
              1
28           Terms used in this reply memorandum have the same meaning as defined in
      SFC’s Memorandum of Points and Authorities in support of its Motion (the “Memo”).
                                            6
           REPLY MEMO OF POINTS AND AUTHORITIES IN SUPPORT OF MOTION OF PLAINTIFF
           SOFTWARE FREEDOM CONSERVANCY, INC. TO REMAND ACTION TO STATE COURT
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1     Vizio does not controvert the case law cited by SFC which concludes that breach of
2     contract claims are almost never preempted by the Copyright Act. (See Memo at 11:6-
3     12:13 and cases cited therein.) Nor does Vizio successfully distinguish the two cases
4     cited by SFC—Artifex Software v. Hancom, Inc., 2017 U.S. Dist. LEXIS 62815 (N.D.
5     Cal. Apr. 25, 2017) and Versata Software, Inc. v. Ameriprise Fin., Inc., 2014 U.S. Dist.
6     LEXIS 30934 (W.D. Tex. Mar. 11, 2014)—which are directly on point and already have
7     held that claims based on the obligation to produce source code under the GPL
8     Agreements are not preempted by the Copyright Act. (See id. at 13:19-15:19.)
9           Third, Vizio’s assertion that “SFC’s state-law claims seek to enforce rights that
10    the Copyright Act protects” (Opp. at 1:20-21) is demonstrably incorrect. SFC’s right to
11    compel Vizio to disclose its source code under the GPL Agreements does not implicate
12    any rights under the Copyright Act. Indeed, the rights granted under Section 106 of the
13    Copyright Act are rights to exclude, not rights to require another to take action and
14    disclose source code.
15          In short, Vizio’s mistaken assertions provide no basis for this Court to conclude
16    that SFC’s state law claims are preempted by the Copyright Act. (See Section II infra.)
17          Vizio’s remaining contentions similarly lack merit and provide no basis to deny
18    SFC’s Motion. First, Vizio improperly seeks to use extrinsic evidence to defeat the
19    Motion. As explained in Section III.A infra, all evidence extrinsic to the pleadings is
20    irrelevant for purposes of this Court’s ruling on the Motion. Second, as Section III.B.1
21    infra demonstrates, any statements or arguments made by SFC in prior unrelated
22    litigation are neither relevant nor binding on SFC in this action and provide no basis to
23    conclude that SFC’s state law claims are preempted.             Third, any pre-lawsuit
24    communications by SFC to Vizio are inadmissible settlement communications.
25    Moreover, Section III.B.2 infra establishes that, even if these communications were
26    admissible, they are not binding on SFC, do not constitute admissions and provide no
27    grounds to deny the Motion.
28


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         REPLY MEMO OF POINTS AND AUTHORITIES IN SUPPORT OF MOTION OF PLAINTIFF
         SOFTWARE FREEDOM CONSERVANCY, INC. TO REMAND ACTION TO STATE COURT
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1              Accordingly, as explained in greater detail below, this Court should reject Vizio’s
2     flawed assertions, correctly apply the “extra element” test as described in SFC’s Memo,
3     conclude that SFC’s state law claims are not preempted by the Copyright Act, grant
4     SFC’s Motion, and remand this action to Orange County Superior Court.
5     II.      NONE OF VIZIO’S MISTAKEN ASSERTIONS REGARDING
6
               COPYRIGHT PREEMPTION PROVIDE ANY BASIS TO DENY SFC’S
               MOTION TO REMAND.
7
               SFC established in its moving papers that its state law breach of contract claims,
8
      based on the allegation that Vizio has breached the Source Code Provision in the GPL
9
      Agreements by failing to make the source code for the operating systems of its Vizio’s
10
      “smart TVs” freely available, are not preempted by the Copyright Act. As SFC has
11
      explained, the Source Code Provision found in the GPL Agreements obligates Vizio, as
12
      the licensee of software covered by these agreements, to accompany the covered
13
      software with either the source code for such software or a written offer for the source
14
      code. As a purchaser of Vizio’s “smart TVs,” SFC is entitled to this software.
15
               The right to receive source code, however, does not fit into any of the Exclusive
16
      Rights set forth in Section 106 of the Copyright Act. On the contrary, as the Ninth
17
      Circuit has recently explained, the right granted by a copyright, like other property
18
      rights, “is the right to exclude others.” CDK Global LLC v. Brnovich, 16 F.4th 1266,
19
      1275-76 (9th Cir. 2021). Therefore, the state law claims for breach of contract and
20
      declaratory relief alleged in SFC’s Complaint are not preempted, because they include
21
      an “extra element” that makes the rights asserted by SFC under the GPL Agreements
22
      qualitatively different from those protected by the Copyright Act, and thus transforms
23
      the nature of this action. (See, e.g., Memo at 1:20-2:25, 9:11-13:18.)
24
               In its Opposition, Vizio raises various assertions in a failed attempt to show that
25
      the Copyright Act completely preempts SFC’s state law claims. As explained infra,
26
      these assertions are all fatally flawed and provide no grounds to deny SFC’s Motion.
27

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            REPLY MEMO OF POINTS AND AUTHORITIES IN SUPPORT OF MOTION OF PLAINTIFF
            SOFTWARE FREEDOM CONSERVANCY, INC. TO REMAND ACTION TO STATE COURT
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1
           A.     Vizio’s Novel Test for Copyright Preemption is Unsupported by Legal
                  Authority or Reasoning and Cannot Defeat SFC’s Motion
2
           Vizio agrees that the Copyright Act completely preempts only those “state-law
3
     claims that seek to enforce rights equivalent to the exclusive rights the Copyright Act
4
     protects.” (Opp. at 1:16-18.) In the very next sentence of its Opposition, however,
5
     Vizio completely misconstrues this language to invent a new rule for copyright
6
     preemption—wholly incongruous with Ninth Circuit precedent—stating that, “[p]ut
7
     differently, if a state-law claim could be asserted under the Copyright Act, it is
8
     preempted and subject to removal.” (Opp. at 1:18-19.) Thus, according to Vizio, if SFC
9
     or a hypothetical copyright holder could bring a claim for copyright infringement, any
10
     state law claim based on the same facts is automatically preempted.
11
           Vizio cites to no legal authority for its unfounded proposition that claims for
12
     breach of contract are preempted whenever the breach also constitutes copyright
13
     infringement.    Contrary to Vizio’s unsupported assertion, Ninth Circuit case law
14
     specifically demonstrates that copyright infringement claims and breach of contract
15
     claims can and do coexist, even where they both depend on the breach of the same term.
16
     As one court has observed, while the “requirements for proving liability are different, …
17
     there is no per se bar to advancing both the contract and copyright claims
18
     simultaneously.” Moses v. Fedida, 2018 U.S. Dist. LEXIS 222855, at *16 n.4 (C.D.
19
     Cal. Dec. 12).
20
           As a general principle, nothing prevents claims for copyright infringement and
21
     breach of contract from coexisting. See Effects Assocs. v. Cohen, 817 F.2d 72, 73 (9th
22
     Cir. 1987) (“Effects I”). As master of the complaint, a plaintiff may choose not to bring
23
     one potential claim or the other. See id. Moreover, if one claim fails, the plaintiff may
24
     even be able to try again with the other claim. See Effects Assocs. v. Cohen, 908 F.2d
25
     555, 559 (9th Cir. 1990) (“Effects II”). In Effects I, plaintiff alleged that defendant hadn’t
26
     paid what he promised for plaintiff’s content. See Effects I. Plaintiff avoided bringing a
27
     claim for breach of that promise, however, and instead sued for copyright infringement.
28


                                        9
       REPLY MEMO OF POINTS AND AUTHORITIES IN SUPPORT OF MOTION OF PLAINTIFF
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1    See id. When the court found that the plaintiff had granted defendant an implied license,
2    which resulted in dismissal of the copyright claim, the Ninth Circuit had this advice:
3          We note, however, that plaintiff doesn't leave this court empty-handed.
4          Copyright ownership is comprised of a bundle of rights; in granting a
5          nonexclusive license to Cohen, Effects has given up only one stick from that
6          bundle -- the right to sue Cohen for copyright infringement. It retains the
7          right to sue him in state court on a variety of other grounds, including breach
8          of contract.
9    Effects II, 908 F.2d at 559. The only difference between Effects I and this case is that
10   SFC voluntarily chose not to bring a copyright claim, whereas plaintiff in Effects I had
11   that decision made for him. In either circumstance, a plaintiff such as SFC may bring a
12   claim for breach of contract if it so chooses.
13         Vizio nevertheless asserts that its alleged breach of the GPL Agreements is
14   different because it involves the breach of a condition to the copyright license, and that
15   makes Vizio a copyright infringer. According to Vizio, “the violation of a condition of
16   [a] license is only actionable under copyright law, not as a breach of contract.” (Opp.
17   18:27-19:1; see also Opp. at 21:24-22:5.)
18         Vizio is incorrect. It manufactures the rule quoted above by selectively and
19   improperly quoting from the Ninth Circuit’s opinion in MDY Industries LLC v. Blizzard
20   Entertainment, Inc., 629 F.3d 928 (9th Cir. 2010). The issue in MDY Industries was
21   whether copyright holder Blizzard could maintain a claim for copyright infringement
22   based on a violation of a purported condition to the license. Id. at 937. The Ninth Circuit
23   held that it could not because the purported condition lacked a nexus to any Exclusive
24   Right. See id. at 941. In doing so, however, the court recognized the general proposition
25   that a violation of a condition to a license may give rise to a claim for copyright
26   infringement because, in violating the condition, the licensee has stepped outside of the
27   scope of the license that shields the licensee from infringement actions. See id. at 939.
28


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       REPLY MEMO OF POINTS AND AUTHORITIES IN SUPPORT OF MOTION OF PLAINTIFF
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1          In support of its manufactured rule, Vizio asserts that MDY Industries specifically
2    states “[w]e refer to contractual terms that limit a license’s scope as ‘conditions,’ the
3    breach of which constitute copyright infringement. We refer to all other license terms as
4    ‘covenants,’ the breach of which is actionable only under contract law.” (Opp. at 22:1-5,
5    quoting MDY Industries, 629 F.3d at 939.) In relying on this language, however, Vizio
6    ignores the language from the Ninth Circuit immediately preceding this selective
7    quotation, which states as follows:
8          A copyright owner who grants a nonexclusive, limited license ordinarily
9          waives the right to sue licensees for copyright infringement, and it may sue
10         only for breach of contract. However, if the licensee acts outside the scope
11         of the license, the licensor may sue for copyright infringement. Enforcing a
12         copyright license raises issues that lie at the intersection of copyright and
13         contract law.
14   MDY Industries, 629 F.3d at 939 (citations omitted) (emphasis added).
15         As the above language—conveniently ignored by Vizio—makes clear, if Vizio
16   acted outside the scope of the license granted by the GPL Agreements, it is potentially
17   liable for copyright infringement. This does not mean, however, that Vizio somehow is
18   immune from claims for breach of contract. Indeed, the Ninth Circuit is very careful with
19   its language here, explaining that, if the scope of the granted copyright license has not
20   been exceeded, and a condition thus has not been violated, the copyright owner “may sue
21   only for breach of contract.” MDY Industries, 629 F.3d at 939 (emphasis added). If the
22   scope of the license has been exceeded, however, and a condition has thus been violated,
23   the copyright holder then “may sue for copyright infringement.” Id. (emphasis added).
24   At no point, however, does the MDY Industries court even imply that the ability to bring
25   a claim for copyright infringement preempts or otherwise forestalls a claim for breach of
26   contract. Put another way, there is no blanket rule against maintaining claims for both
27   copyright infringement and breach of contract where the breach of a license agreement
28   also violates a condition to the copyright license. Vizio’s disingenuous reliance on the

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       REPLY MEMO OF POINTS AND AUTHORITIES IN SUPPORT OF MOTION OF PLAINTIFF
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1    misleading language it chooses to quote from MDY Industries thus fails to support its
2    assertion that the only remedy for violating a condition of a license is a claim for
3    copyright infringement. Accordingly, MDY Industries provides no basis for this Court to
4    conclude that SFC’s state law claims are preempted. Moreover, as SFC demonstrated in
5    its moving papers, the distinction between conditions and covenants advanced by Vizio
6    is simply a red herring. (See Memo at 19:14-21:9.)
7          Courts in the Ninth Circuit have explicitly rejected Vizio’s assertion that the
8    exclusive remedy for exceeding the scope of a software license is a copyright
9    infringement claim. For example, in Viasat, Inc. v. Space Sys./Loral, Inc., 2014 WL
10   11889010, at *11 (S.D. Cal. Aug. 8, 2014). plaintiff granted defendant a nonexclusive
11   license to plaintiff’s “Intellectual Property” (defined to include copyright), “only to the
12   extent necessary to provide the Work under this Contract.” Id. A jury found that
13   defendant’s use of the intellectual property went too far and breached the contract. See
14   id. On a motion for a new trial, defendant argued that plaintiff’s “remedy for use in
15   excess of the license is typically not breach of contract, but enforcement of the
16   preexisting right,” which is almost exactly what Vizio asserts here. Id. Noting that
17   “[m]any courts have held that a licensing clause can be the basis for a breach of contract
18   claim,” the court rejected the defendant’s argument. Id.
19         Moreover, another court has stated that “[a] copyright owner’s remedies against
20   copiers who possess a valid []license but have failed to satisfy a condition upon which
21   the rights of the license depend are not limited to breach of contract. Such use is without
22   the authority of the licensor and may constitute infringement of the copyright.” Microsoft
23   Corp. v. Very Competitive Comp. Prod. Corp., 671 F. Supp. 1250, 1257, n.4 (N.D. Cal.
24   1987) (emphasis added). Courts have never even suggested that breach of contract
25   claims are thereby somehow displaced or waived under these circumstances. Where a
26   license applies, the parties have agreed to waive copyright infringement claims. See
27   MDY Indus., 629 F.3d at 939. It simply does not follow, however, that where the license
28   has been exceeded, the parties have agreed to waive their claims for breach of contract.

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1    Yet that is exactly what Vizio contends should be read into every license agreement,
2    including the GPL Agreements.
3          Normally, where a defendant has breached a license agreement, the plaintiff will
4    choose to sue the defendant for copyright infringement. As one court has observed, this
5    is because a breach of contract claim “usually provides a lesser remedy than a copyright
6    infringement action.” Pac. Stock, Inc. v. Pearson Educ., Inc., 927 F. Supp. 2d 991, 998
7    (D. Haw. 2013). Notwithstanding the fact that a plaintiff may prefer to sue for copyright
8    infringement rather than breach of contract, however, it is fairly common for courts to
9    consider copyright infringement claims and breach of contract claims together, even
10   when both claims arise from the same act. For example, in Crispin v. Christian Audigier,
11   Inc., 2010 WL 11508342, at *4–5 (C.D. Cal. June 21, 2010), the court held that
12   defendant could be liable under both copyright law and contract law for breaching its
13   obligation to provide attribution to the plaintiff. Id. The court noted that, while there was
14   no exclusive right to attribution under copyright law, the obligation to provide attribution
15   was a condition to the copyright license. See id. By failing to provide attribution, the
16   defendant had both breached the license agreement and infringed a copyright. See id.
17         Similarly, in Fox Broadcasting Co. v. Dish Network LLC, 160 F. Supp. 3d 1139,
18   1174-77 (C.D. Cal. 2015). a dispute between two sophisticated parties, the court found
19   that the defendant’s “QA copies” violated the parties’ “No-Copying Provision” and
20   plaintiff’s copyrights. The court also noted that contract and copyright claims allow
21   different remedies, both of which plaintiff was entitled to pursue. See id. at 1179-80; see
22   also Oracle USA, Inc. v. Qtrax, Inc., 2011 U.S. Dist. LEXIS 118430, at *7-8 (N.D. Cal.
23   Sep. 27, 2011) (awarding damages for breach of the parties’ license agreement and an
24   injunction against infringement of plaintiff’s copyright). Finally, in Royal Printex, Inc. v.
25   LA Printex Industries, 2015 U.S. Dist. LEXIS 97072, at *9 (C.D. Cal. July 24, 2015),
26   the court remanded to state court a claim for a declaration that plaintiff had not breached
27   its license agreement with the defendant, even though it already had a claim for
28   noninfringement of defendant’s copyrights pending in federal court. Id.

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1          Vizio’s contention that state law claims that could be asserted under the Copyright
2    Act are preempted and subject to removal is fatally flawed for the additional reason that
3    it misstates the language of the Copyright Act. Section 301(a) states that “all legal or
4    equitable rights that are equivalent to any of the exclusive rights within the general
5    scope of copyright as specified by section 106 … and come within the subject matter of
6    copyright … are governed exclusively by this title.” 17 U.S.C. § 301(a) (emphasis
7    added). The Copyright Act thus preempts equivalent rights, not equivalent claims.
8    Here, there are two separate and distinct rights at issue. First, purchasers of Vizio’s
9    “smart TVs” have a right to receive the source code for software covered by the GPL
10   Agreements. Violation of that right gives rise to a claim for breach of contract. Second,
11   holders of copyright in the software have a right to exclude Vizio from reproducing or
12   distributing the software without permission. Violation of these Exclusive Rights of
13   reproduction and distribution gives rise to a copyright infringement claim.
14         Vizio’s contention is also fatally flawed because it turns the general principle that
15   “a plaintiff is the master of his Complaint” on its head. Ordinarily, plaintiffs “may avoid
16   federal jurisdiction by relying exclusively on state law.” Hunter v. Philip Morris USA,
17   582 F.3d 1039, 1042 (9th Cir. 2009) (quotation omitted). Under Vizio’s contention,
18   however, the mere fact that a plaintiff could have brought a copyright infringement
19   claim prevents that plaintiff from relying on state law claims, regardless of whether the
20   copyright infringement claim and the state law claims involve equivalent rights.
21         Finally, adopting Vizio’s unsupported contention that state law claims that could
22   be asserted under the Copyright Act are preempted and subject to removal would
23   undermine the freedom to contract and lead to absurd results. As SFC explained in its
24   moving papers, Congress was careful to craft the scope of copyright preemption to
25   respect the freedom of contract and not allow copyright law to intrude into contract law:
26   “Nothing in the bill derogates from the rights of parties to contract with each other and
27   to sue for breaches of contract.” (Memo at 15:20-16:5, quoting H. Rep. No. 94-1476, at
28   132 (1976).)

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1          If parties such as Vizio who breach copyright license agreements can avoid breach
2    of contract claims by seeking to interpose copyright law to avoid the contractual
3    consequences of their breach, however, parties to such agreements who lack standing to
4    bring a copyright infringement claim will be unable to enforce the bargains they believed
5    they had struck and thus will have no remedy. Some of these situations will be quite
6    common, as these hypotheticals indicate:
7          • In some copyright license agreements, the party granting the license, such as a
8             reseller, lacks standing to enforce the copyright. Under Vizio’s theory, a
9             reseller would be unable either to enforce terms that are conditions to the
10            license or to impose conditions on the license at all. For example, if a reseller
11            conditioned getting access to copies of the software on the timely payment of
12            fees in order to encourage prompt payment, and a customer refused to pay but
13            continued to use the software, the reseller would find itself unable to collect
14            those fees under Vizio’s theory. Cf. Leopona, Inc. v. Cruz for President, at *9
15            (W.D. Wash. July 11, 2016) (holding that a licensing agent’s claim for breach
16            of contract was not preempted where the licensee violated express conditions
17            on the use of copyrighted works).
18         • In other copyright license agreements, the remedies under copyright law would
19            not make the copyright holder whole. A developer of enterprise software might
20            license its software for a lump sum, but then require its customer, as a
21            condition of the license, to make certain annual maintenance payments. If the
22            customer failed to make the payments, the actual damages for copyright
23            infringement might be almost nothing because the customer had already fully
24            paid for the license. Unless the developer could sue for breach of contract, it
25            might not be able to collect on the unpaid maintenance fees. Cf. Applied Bus.
26            Software, Inc. v. Citadel Servicing Corp., 2019 U.S. Dist. LEXIS 76331, at *3
27            (C.D. Cal. Mar. 26, 2019).
28


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1          • If a wholesaler, with the author’s permission, gave copies of the author’s work
2               to a retailer on consignment, on condition that any remaining copies be
3               returned to the wholesaler after 90 days, the retailer could keep and continue to
4               distribute the copies on grounds that, in violating the condition to the right to
5               distribute, it is immune to the wholesaler’s claims for breach of the promise to
6               return the copies. Cf. ProCD, Inc. v. Zeidenberg, 86 F.3d 1447, 1454 (7th Cir.
7               1996). The wholesaler could not even utilize the right of replevin, a state-law
8               remedy, to recover what is, in effect, its own property.
9          In sum, Vizio’s novel theories that a state law claim is preempted and subject to
10   removal if it could be asserted under the Copyright Act and that breaches of contract that
11   also violate conditions to copyright licenses may only be enforced through copyright are
12   unsupported by legal authority or common sense. There simply is no legal proposition
13   or rule that a defendant such as Vizio cannot be liable for both copyright infringement
14   and breach of contract where the defendant’s breach caused it to exceed the scope of a
15   copyright license. Accordingly, Vizio’s mistaken assertions provide no basis for this
16   Court to conclude that SFC’s state law claims are preempted by the Copyright Act.
17         B.      Vizio’s Assertion that SFC’s State Law Claims Seek to Enforce Rights
18
                   that the Copyright Act Protects is Simply False.
           Vizio also asserts that this Court should deny the Motion because SFC’s state law
19
     claims clearly seek to enforce rights that the Copyright Act protects. (Opp. at 1:19-21.)
20
     This assertion is demonstrably false. The Copyright Act is very precise about the scope
21
     of the exclusive rights it protects. Section 106 of the Copyright Act enumerates only five
22
     such rights for this type of work: the right to reproduce a work, to make derivative works
23
     based on the work, to distribute copies (i.e., physical embodiments) of the work, to
24
     publicly perform the work, and to publicly display the work. See 17 U.S.C. § 106. These
25
     rights are “exclusive” because they give the holder the power to exclude others from
26
     carrying out any of these activities without permission. See CDK Global LLC v.
27
     Brnovich, 16 F.4th 1266, 1275-76 (9th Cir. 2021).
28


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1          By contrast, the right to receive source code under the Source Code Provision of
2    the GPL Agreements—the provision that forms the basis of SFC’s breach of contract
3    claim—is not an enumerated Exclusive Right and is not protected under Section 106 of
4    the Copyright Act. The Source Code Provision does not give SFC or other purchasers of
5    Vizio’s “smart TVs” the right to stop Vizio from reproducing, making derivative works
6    of, or distributing copies of the covered software. Rather, it gives them the right to
7    receive source code, a human-readable version of the covered software. This right is the
8    very opposite of an Exclusive Right. SFC wishes to compel Vizio to take action and
9    disclose the source code of the covered software; it does not seek to exclude Vizio or
10   prevent it from taking action. Vizio violates the Source Code Provision by failing to
11   make a copy of the source code available to purchasers of its “smart TVs.” This failure
12   implicates no Exclusive Rights. See Fleet v. CBS, 50 Cal.App.4th 1911, 1924 (1996).
13   For this reason, Vizio’s assertion that SFC’s state law claims seek to enforce rights that
14   the Copyright Act protects is simply wrong and provides no ground to deny the Motion.
15         Vizio’s misleading discussion of certain language from the GPL Agreements does
16   not change the above conclusion. First, Vizio attempts to make much of the fact that the
17   GPL Agreements state that “[a]ctivities other than copying, distribution and
18   modification are not covered by this License; they are outside its scope.” (Opp. at 1:25-
19   27, quoting GPL Agreements, pp. 2, 3.) Contrary to Vizio’s assertion, such language
20   does not mean that the GPL Agreements “cover only exclusive rights protected by the
21   Copyright Act.” (Opp. at 1:22-23; see also id at 4:17-19; 13:23-28.) Such language is
22   nothing more than a limitation on the scope of activities governed by the GPL
23   Agreements, as opposed to such activities as running covered computer programs and
24   obtaining output from covered computer programs. (See GPL Agreements, pp. 2, 3.)
25   Moreover, this language does not change the nature of the Source Code Provision or
26   somehow convert the right created by the Source Code Provision to one that is
27   equivalent to an Exclusive Right protected by the Copyright Act. For these reasons,
28


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1    Vizio’s reliance on the language of the GPL Agreements lacks merit and does not
2    support its contention that SFC’s state law claims are preempted by the Copyright Act.2
3          C.     Vizio Fails to Successfully Distinguish the Rulings in Versata and Artifex,
4
                  Which Have Already Held That Claims Based on the Obligation to
                  Produce Source Code Under the GPL Agreements Are Not Preempted by
5                 the Copyright Act.
6          SFC demonstrated in its moving papers that this Court should grant the Motion for
7    the additional reason that two courts, including one in the Ninth Circuit, have already
8    held that the obligation to provide source code found in Source Code Provision of the
9    GPL Agreements is not subject to copyright preemption. (See Memo at 13:19-15:19,
10   discussing Versata Software, Inc. v. Ameriprise Fin., Inc., 2014 U.S. Dist. LEXIS 30934
11   (W.D. Tex. Mar. 11, 2014) and Artifex Software v. Hancom, Inc., 2017 U.S. Dist. LEXIS
12   62815 (N.D. Cal. Apr. 25, 2017). Vizio’s attempt to distinguish Versata and Artifex fails.
13         Vizio first contends that Versata is distinguishable, and should be ignored by this
14   Court, because the Versata court “failed to address … how the Source Code Provision
15   allegedly transformed the nature of the action from a copyright claim.” (Opp. at 19:6-8.)
16   Vizio is incorrect—Versata specifically applied the “extra element” for copyright
17   preemption in a manner that asked whether the extra element transformed the nature of
18   the action, noting that the “extra element” test “asks whether the asserted cause of action
19   requires proof of ‘one or more qualitatively different elements’ than a copyright
20   infringement claim.” Versata, 2014 U.S. Dist. LEXIS 30934, at *8, quoting Carson v.
21   Dynegy, Inc., 344 F.3d 446, 456 (5th Cir. 2003). Versata then went on to describe the
22

23
           2
              For these same reasons, the fact that the Source Code Provision may be
24
     contained within a section of the GPL Agreements that discusses the conditions under
25   which a licensee may copy and distribute the copyrighted work (see Opp. at 1:28-2:2,
26
     4:20-22) does not magically convert the Source Code Provision to one that is equivalent
     to an Exclusive Right and thus subject to copyright preemption. The mere fact that the
27   Source Code Provision may “relate[] to the exclusive rights of the copyright holder to
28   control the copying and distribution under the Copyright Act” (Opp. at 4:23-24) does not
     somehow convert that provision into an Exclusive Right.
                                        18
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1    Source Code Provision at issue in the case as “separate and distinct from any copyright
2    obligation” because “[c]opyright law imposes no open source obligations …” Id. at *14.
3    Finally, Versata held that Ameriprise’s claim for breach of the Source Code Provision
4    “requires an ‘extra element’ in addition to reproduction or distribution: a failure to
5    disclose the source code of the derivative software.” Id. at *14-*15.
6          Vizio also asserts that Versata is distinguishable because the Versata court did not
7    decide “whether the Source Code Provision was a condition or covenant of the license
8    under California law.” (Opp. 19:8-9.) Once again, Vizio is mistaken. The Versata court
9    explicitly found that the Source Code Provision was a condition of the copyright license,
10   stating that “the GPL allows for free use and redistribution of [the software] … on the
11   condition the original licensor continues the open source trend and makes the source
12   code freely available.” Versata, 2014 U.S. Dist. LEXIS 30934, at *4.3 Accordingly,
13   Versata is directly on point, despite Vizio’s flawed attempts to distinguish it, and
14   supports this Court’s granting of SFC’s Motion.
15         Vizio’s attempts to distinguish Artifex similarly lack merit. Vizio first asserts that
16   Artifex is distinguishable because the Artifex court “did not make an affirmative finding
17   that the Source Code Provision is the ‘extra element,’ but rather held the defendant did
18   not meet its burden because it failed to explain why the Source Code Provision is not the
19   ‘extra element.’” (Opp. at 18:4-7.) Vizio has to meet this same burden here, however,
20   because copyright preemption is an affirmative defense. Chesler/Perlmutter Prods., Inc.
21   v. Fireworks Ent., Inc., 177 F. Supp. 2d 1050, 1056 (C.D. Cal. 2001). Vizio has failed to
22   meet its burden, for all the reasons discussed herein and in SFC’s moving papers, just as
23   defendant Hancom failed to meet its burden in Artifex.
24         Second, Vizio mistakenly asserts that the Artifex court “did not address or explain
25   how the GPLs’ open source requirement would ‘transform the nature of the action’ into
26   a qualitatively different claim ...” (Opp. at 18:19-20.)       In fact, the Aritfex court
27
           3
28           Although the Versata court may have applied Texas law rather than California
     law, Vizio does not explain, and cannot explain, how this is a significant difference.
                                        19
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1    specifically stated that “[t]o avoid preemption under the second prong, the state law
2    claim must protect rights which are qualitatively different from the copyright rights” and
3    then held that Hancom “does not explain why the GNU GPL’s open source requirement
4    is not the required extra element …” Artifex, 2017 U.S. Dist. LEXIS 62815, at *8-*9,
5    *10 (quotation and citation omitted). Vizio simply is unhappy with the fulsomeness of
6    the Artifex court’s analysis.
7          Third, Vizio complains that the Artifex court did not address Ninth Circuit
8    authority holding that “the violation of a condition of the license is only actionable under
9    copyright law, not as a breach of contract.” (Opp. at 18:26-19:1.) As explained in
10   Section II.A supra, Vizio disingenuously relies on a selective quotation from MDY
11   Industries for this proposition, and MDY Industries simply does not so hold.
12         Finally, Vizio ignores the fact that the Artifex court specifically rejected Hancom’s
13   attempt to rely upon Jacobsen II (discussed in Section II.D infra), choosing instead to
14   follow Versata for the proposition that “a failure to disclose the source code of the
15   derivative software” constitutes the required “‘extra element’ in addition to reproduction
16   or distribution.” Id. at *9, quoting Versata, 2014 U.S. Dist. LEXIS 30934, at *5. This
17   Court likewise should apply the holdings of Versata and Artifex, reject Vizio’s flawed
18   attempts to distinguish these cases, and grant the Motion.
19         D.     Jacobsen II is Distinguishable and Does Not Support Vizio’s Assertion
20
                  that SFC’s State Law Claims Are Preempted By The Copyright Act
           Vizio’s Opposition relies primarily on Jacobsen v. Katzer, 609 F. Supp. 2d 925,
21
     933 (N.D. Cal. 2009) (“Jacobsen II”), asserting that it “addressed a similar situation” as
22
     that here. (Opp. at 16:8-9; see also id. at 16:9-25.) Jacobsen II is distinguishable and
23
     provides no reason for this Court to deny SFC’s Motion, for several separate reasons.
24
           First, Jacobsen II was about an entirely different FOSS agreement called the
25
     “Artistic License” and did not involve any Source Code Provision. Id. at 932. The
26
     Artistic License did not include a mandatory obligation to provide source code to
27
     recipients of the executable code and the breach of license claim in Jacobsen did not
28


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1    include an allegation that source code had not been provided. See Jacobsen v. Katzer,
2    535 F.3d 1373, 1376-77 (Fed. Cir. 2008) (“Jacobsen I”). Contrary to Vizio’s mistaken
3    representation (Opp. at 17:17-20), the Artistic License at issue in Jacobsen II did not
4    include a provision analogous to the Source Code Provision in the GPL Agreements and
5    did not include an obligation “to make any modifications available to the public.” (Opp.
6    17:19.) Rather, the Artistic License only required “a description of how the files or
7    computer code had been changed from the original source code.” Jacobsen I, 535 F.3d at
8    1376. For this reason alone, the situation in Jacobsen II is not similar to that here.
9           Second, the contractual provision alleged to have been breached in Jacobsen II
10   was nothing more than a promise not to infringe copyright. It thus falls into a narrow
11   exception to the general rule that claims for breach of contract are not preempted. See,
12   e.g., Memo at 13:1-11, citing Rumble, Inc. v. Daily Mail, 459 F. Supp. 3d 1294, 1299
13   (C.D. Cal. 2020); see also Marshall & Swift/Boeckh, LLC v. URS Corp., 2009 U.S. Dist.
14   LEXIS 139264, at *61 (C.D. Cal. Aug. 26, 2009) (finding preemption of a contract
15   claim where the contractual term at issue was a prohibition against a “unauthorized
16   copying of any portion” of the copyrighted work, i.e., a promise not to infringe).
17          Third, Vizio ignores the fact that the Jacobsen II court invited plaintiff to amend
18   the complaint in a way that “demonstrat[ed] that there are rights or remedies available
19   under the contract claims that are not otherwise available under the copyright claim.”
20   Jacobsen II, 609 F. Supp. 2d at 934. Here, as explained both here and in its moving
21   papers, SFC has demonstrated that its right to obtain copies of the source code under the
22   Source Code Provision of the GPL Agreements is not available under the Copyright Act.
23          In sum, Vizio’s reliance on Jacobsen II is unavailing and provides no basis for
24   this Court to deny the Motion.
25   III.   VIZIO CANNOT USE EXTRINSIC EVIDENCE, STATEMENTS AND
26
            ARGUMENTS MADE IN UNRELATED PRIOR LITIGATION, OR PRE-
            LITIGATION COMMUNICATIONS TO DEFEAT THE MOTION
27
            A.    The Extrinsic Evidence Relied Upon by Vizio is Irrelevant For Purposes
28                of Deciding this Motion

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1          Throughout its Opposition, Vizio seeks to rely upon extrinsic evidence to defeat
2    the Motion. Moreover, Vizio asserts that SFC’s Complaint is worded to avoid federal
3    subject matter jurisdiction over its claims (i.e., so-called “artful pleading”). (Opp. at 9:8-
4    16.) However, Vizio wholly misapplies the “artful pleading” doctrine.
5          “Under the ‘artful pleading’ doctrine, a court may recharacterize a plaintiff’s state
6    law causes of action as federal if the particular conduct complained of is governed
7    exclusively by federal law. … This exception to the rules of removal is narrow and is
8    only to be applied in exceptional circumstances.” (Garcia v. Lopez, 2009 U.S. Dist.
9    LEXIS 12622, at *2-*3 (C.D. Cal. Feb. 5).) Although it invokes the “artful pleading”
10   doctrine, Vizio selectively omits that, as the party invoking it, it bears a “heavy burden”
11   to show that SFC’s claims are governed exclusively by federal law. (See id. at *4;
12   Redwood Theatres, Inc. v. Festival Enters., Inc., 908 F.2d 477, 479 (9th Cir. 1990)
13   (recognizing “the strong bias against permitting removal where a plaintiff has chosen to
14   proceed solely on state-law grounds”.) As the Garcia court noted, in addressing the
15   removal of a California state court action alleging a state law breach of contract claim:
16   “It is well established that the party who brings a suit is master to decide what law he
17   will rely upon, and if he can maintain his claim on both state and federal grounds, he
18   may ignore the federal question and assert only a state law claim and defeat removal.
19   That Plaintiffs could potentially state a Copyright Act claim based on the facts alleged
20   does not mean that they must. Plaintiffs are free to limit their causes of action as they
21   wish.” Garcia, 2009 U.S. Dist. LEXIS 12622, at *3-*4 (emphasis added; citations
22   omitted); accord Rains v. Criterion Sys., 80 F.3d 339, 344 (9th Cir. 1996).
23         “While perhaps theoretically distinct, the artful pleading doctrine in practice
24   collapses into the complete preemption doctrine, because it can only be said that a claim
25   alleged under state law necessarily arises under federal law where ‘the particular conduct
26   complained of [is] governed exclusively by federal law.’” (Garcia, 2009 U.S. Dist.
27   LEXIS 12622, at *3, quoting Heichman, v. Am. Tel. & Tel. Co., 943 F. Supp. 1212, 1219
28   (C.D. Cal. 1995). “The artful pleading doctrine allows courts to ‘delve beyond the face

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1    of the state court complaint and find federal question jurisdiction’ by ‘recharacterizing a
2    plaintiff's state-law claim as a federal claim.’” (Lippitt v. Raymond James Fin. Servs.,
3    340 F.3d 1033, 1041 (9th Cir. (Cal.) 2003) (citations omitted).)
4          Because SFC has established that its state law claims are not governed exclusively
5    by federal law, the “artful pleading” doctrine does not apply. (See, e.g., Rains, 80 F.3d
6    at 344 (“The artful pleading doctrine does not permit defendants to achieve what they
7    are trying to accomplish here: to rewrite a plaintiff’s properly pleaded claim in order to
8    remove it to federal court.”).) The “well-pleaded complaint” doctrine prohibits this
9    Court from considering extrinsic evidence from outside of the four corners of SFC’s
10   Complaint in ruling on jurisdictional issues. (See Lippitt, 340 F.3d at 1040.) This Court
11   thus must disregard all such extrinsic evidence, including the extrinsic evidence
12   submitted with Vizio’s Opposition, as irrelevant for purposes of deciding this Motion.
13         B.     Vizio Cannot Bind SFC To Prior Statements And Arguments Made in
14
                  Unrelated Litigation and Confidential Settlement Communications,
                  Because They Are Irrelevant or Inadmissible.
15
           To support its claims of preemption, Vizio asserts that SFC is bound by various
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     statements it made before this litigation commenced, suggesting that a failure to comply
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     with the GPL Agreements, including the Source Code Provision, may constitute
18
     copyright infringement. (See Opp. at 11:26-13:13.) However, those statements were all
19
     made either: (1) in the course of unrelated litigation that involved different issues,
20
     parties, and software, which are not binding on SFC, or (2) in pre-lawsuit settlement
21
     communications with Vizio which are inadmissible. Thus, even if the “artful pleading”
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     doctrine were to apply, SFC is still not bound by these irrelevant or inadmissible
23
     statements and arguments, and they cannot defeat the Motion.
24
                  1.   Statements and Arguments Made in Unrelated Prior Litigation
25                     Are Not Binding on SFC In This Action
26         Vizio suggests that legal arguments made by SFC in the so-called “BusyBox
27   litigation” should be binding on, or at least be persuasive against, SFC in the present
28   action. (See Opp. at 12:14-13:13; see also Declaration of Michael E. Williams in support

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1    of Opp. (“Williams Decl.”), ¶ 10 & Exh. “9” (complaint in BusyBox litigation) (the
2    “BusyBox Complaint”).)       Specifically, Vizio asserts that SFC’s arguments in the
3    BusyBox litigation—namely, that violations of the Source Code Provision may constitute
4    copyright infringement—contradict its position in this action and qualify as admissions.
5    (See, e.g., Opp. at 12:14-16, 13:3-7.) This assertion fundamentally misunderstands the
6    nature of the BusyBox litigation and SFC’s claims and completely misapplies relevant
7    law, which clearly holds that such arguments are not binding on SFC.
8          The BusyBox litigation referenced by Vizio was a lawsuit brought in 2009 by
9    copyright holder Erik Andersen (“Andersen”) and SFC (as copyright enforcement agent)
10   against Best Buy Co., Samsung, and twelve other commercial electronics distributors
11   alleging copyright infringement of software created by Andersen titled “BusyBox.” (See
12   Software Freedom Conservancy, Inc. v. Best Buy Co., 2010 U.S. Dist. LEXIS 75208, at
13   *1 (S.D.N.Y. Jul. 27) (hereafter, “BusyBox”).) The copyright infringement claim brought
14   in BusyBox sought to enforce rights completely separate and distinguishable from those
15   asserted here. SFC and Andersen were not seeking to enforce the Source Code Provision
16   against the defendants. Instead, they were only using defendants’ failure to comply with
17   that provision as evidence of a violation of the license, where such violation rendered
18   any distribution of the software unauthorized and, thus, infringing. ((See BusyBox
19   Complaint, ¶¶ 24-28; id., ¶ 32 (“Each Defendant’s distribution of products or firmware
20   that contain BusyBox without approval or authorization by Plaintiffs infringes Plaintiffs’
21   exclusive copyrights in BusyBox pursuant to 17 U.S.C. § 501.”) (emphasis added).)
22         In this action, by contrast, SFC solely seeks to enforce the Source Code Provision,
23   as the allegations of the Complaint make clear. (See, e.g., Cmplt., ¶ 115 (SFC “has a
24   right” to the Source Code under the GPL Agreements); ¶ 120 (SFC “may seek to enforce
25   the Source Code Provision against Vizio”); ¶ 121 (SFC “has a right to the Source Code
26   …”).) Vizio fails to explain, and indeed cannot explain, how SFC’s right as a third party
27   beneficiary to compel Vizio to disclose its source code constitutes an exclusive right
28   under the Copyright Act.

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1          Furthermore, SFC is not estopped from asserting positions that may differ with its
2    arguments in prior litigation. Vizio’s contrary assertions appear to conflate judicial
3    admissions with judicial estoppel; the former is recognized as exclusively applicable to
4    contrary statements made in the same litigation, while the latter may apply to statements
5    made by a party in the same or prior litigation. See Nextdoor.com v. Abhyanker, 2013
6    U.S. Dist. LEXIS 101440, at *28-*30 (N.D. Cal. Jul. 19, 2013 and cases cited therein);
7    accord Palumbo Design, LLC v. 1169 Hillcrest, LLC, 2019 U.S. Dist. LEXIS 234198, at
8    *19-*20 (C.D. Cal. Dec. 3, 2019).
9          Specifically, the doctrine of judicial estoppel is an equitable rule created “to
10   protect the integrity of the judicial process, by prohibiting parties from deliberately
11   changing positions according to the exigencies of the moment.” New Hamp. v. Maine,
12   532 U.S. 742, 749-50 (2001) (quotations and citations omitted.)             As an equitable
13   doctrine, courts have discretion whether to invoke judicial estoppel. Id. at 750. There
14   are three factors courts should consider in determining whether judicial estoppel applies
15   to particular statements by a party: (1) “whether the party’s later position is clearly
16   inconsistent with its earlier position”; (2) “whether the party succeeded in persuading a
17   court to accept its earlier position, creating a perception that the first or second court was
18   misled”; and (iii) “whether the party seeking to assert an inconsistent position derives an
19   unfair advantage or imposes an unfair detriment on the opposing party.” See, e.g., Cont'l
20   Cas. Co. v. Chatz, 591 B.R. 396, 411-12 (N.D. Cal. 2018), citing Baughman v. Walt
21   Disney World Co., 685 F.3d 1131, 1134 (9th Cir. 2012). Here, each of these factors
22   weigh heavily against estoppel.
23         First, as explained above, SFC’s arguments in BusyBox and in this action are
24   easily distinguishable: in BusyBox, unauthorized distribution of software was the central
25   claim; this action instead focuses solely on Vizio’s failure to produce its source code, in
26   violation of the GPL Agreements. As a result, SFC’s position in this action is not
27   “clearly inconsistent” with its position in BusyBox, and the first factor fails. See, e.g.,
28   Flagship W., LLC v. Excel Realty Partners LP, 337 Fed. App’x 679, 680 (9th Cir. 2009)

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1    (positions not inconsistent where party did not affirmatively concede a contrary position
2    that it later adopted).
3           Second, Vizio has provided no facts or evidence that would even imply that SFC’s
4    arguments in BusyBox “succeeded in persuading a court to accept its earlier position.”
5    (Chatz, 591 B.R. at 411-12.) Indeed, as Vizio’s own exhibits establish, SFC settled its
6    claims against Samsung in that litigation. (See Williams Decl., Exh. “7”, at 1.) “Absent
7    success in a prior proceeding, a party’s later inconsistent position introduces no risk of
8    inconsistent court determinations, and thus poses little threat to judicial integrity.” New
9    Hamp., 532 U.S. at 750-51 (quotation omitted). Vizio thus has not, and cannot, establish
10   the second factor.
11          Third, Vizio has similarly provided no facts or evidence that SFC “derives an
12   unfair advantage or imposes an unfair detriment on the opposing party.” Chatz, 591
13   B.R. at 411-12. As a general matter, this factor requires that the parties in the present
14   litigation be the same or in privity to the parties from the prior litigation. See Milton H.
15   Greene Archives, Inc. v. Marilyn Monroe LLC, 692 F.3d 983, 996 (9th Cir. 2012). Vizio
16   was not a named party in BusyBox, and no evidence has been submitted that Vizio is in
17   privity with any of the named defendants there. Moreover, a party does not derive an
18   unfair advantage or impose an unfair detriment if the two positions are based on the
19   same factual issues. See, e.g., Flagship W., 337 Fed. App’x at 681.
20          Furthermore, courts are only to apply the judicial estoppel doctrine in the most
21   egregious of cases, i.e., “when a party’s position is tantamount to a knowing
22   misrepresentation to or even fraud on the court.” Milton H. Greene, 692 F.3d at 994
23   (emphasis added). Neither Vizio nor the underlying facts themselves provides any basis
24   for this Court to reach such a conclusion.
25          Accordingly, for all the above reasons, SFC’s statements and arguments in
26   unrelated litigation are not binding in this action and cannot be used by Vizio to establish
27   that SFC’s state law claims are preempted by the Copyright Act.
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                  2.   The Pre-Lawsuit Correspondence Between SFC and Vizio
                       Constitutes Confidential Settlement Communications and Is
2                      Inadmissible Under Rule 408(a) of the Federal Rules of Evidence
3          Vizio also asserts that statements made by SFC to Vizio in pre-suit
4    communications support its preemption claim, because SFC allegedly characterized its
5    claims as “copyright infringement.” (Opp. at 5:11-6:3.) Nowhere in its Opposition,
6    however, does Vizio come forward with any legal authority demonstrating that these
7    statements are admissible. In fact, these statements provide no basis to deny the Motion,
8    for two separate reasons.
9          First, as explained in Section II.A supra, the fact that SFC may have characterized
10   its claims as “copyright infringement” is of no import. Vizio’s conduct may constitute
11   both copyright infringement and a breach of the GPL Agreements, and SFC, as the
12   master of its complaint, may choose whether to allege a claim for copyright infringement
13   or rely solely on state law breach of contract claims.
14         Second, the exhibits submitted by Vizio containing such statements constitute
15   confidential settlement communications, which are being offered to disprove the validity
16   of, or to impeach or contradict, SFC’s claims in this action. Therefore, Rule 408(a) of
17   the Federal Rules of Evidence requires that such communications be excluded and
18   disregarded by this Court as inadmissible.4       Rule 408(a) specifically provides that
19   “conduct or a statement made during compromise negotiations about the claim” is not
20   admissible “to impeach by a prior inconsistent statement or a contradiction.” See Fed. R.
21   Evid. 408(a)(2). Courts interpret these provisions broadly in support of its purpose:
22   facilitating settlement negotiations.    This purpose, and the underlying policies it
23   promotes, are so important that Rule 408(a) is interpreted to include not only explicit
24   settlement offers but also any conduct or statements which relate to or facilitate efforts to
25   compromise. See In re Gardens Reg’l Hosp. & Med. Ctr., Inc., 2017 Bankr. LEXIS
26

           4
27           To respect the confidentiality of these communications and avoid any further
28   unauthorized disclosures of the same, SFC does not reproduce or recite the contents of
     these communications in this section.
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1    1869, at *14-*18 (Bankr. C.D. Cal. Jul. 6, 2007) (“Exploratory compromise negotiations
2    that have not yet progressed to the point at which the parties are willing to exchange
3    formal compromise offers still fall within the purview of FRE 408.”) Accordingly, the
4    mere fact that a statement does not include an explicit settlement offer does not exclude
5    it from Rule 408(a)’s ambit if the statement is intended to facilitate negotiations. See,
6    e.g., id.
7           Additionally, SFC has separately submitted Evidentiary Objections to exclude
8    these exhibits and references thereto, as they demonstrate that the pre-litigation
9    correspondence    between    SFC    and   Vizio   constitutes   confidential   settlement
10   communications that are inadmissible under Rule 408(a). This Court should grant SFC’s
11   Evidentiary Objections, rule that the pre-litigation correspondence submitted by Vizio is
12   inadmissible, and ignore such communications when ruling on the Motion.
13          C.   Vizio’s Baseless Assertions Regarding SFC’s Alleged Misrepresentations
14
                 Have No Relevance Whatsoever To This Motion

15
            Finally, Vizio asserts that SFC’s Complaint and its Motion “contain numerous

16
     misrepresentations” regarding Vizio’s purported compliance with the GPL Agreements.
17   (Opp. at 6:4-6:7; see also id. at 6:8-8:3.) SFC disputes that it made any such
18   misrepresentations and will address Vizio’s baseless assertions at the appropriate time.
19   Vizio fails to explain, however, and indeed cannot explain, how any of SFC’s alleged
20   misrepresentations have any bearing on whether SFC’s state law breach of contract
21   claims are preempted by the Copyright Act or whether this Court shall grant SFC’s
22   Motion and remand this action to state court. If Vizio believes that SFC’s Complaint
23   contains purported misrepresentations, it may attempt to challenge those purported
24
     misrepresentations during trial or by motion for summary judgment. For purposes of this
25
     Motion, however, Vizio’s assertions regarding such purported misrepresentations have
26
     no bearing on the issues before this Court and thus have no relevance whatsoever.
27
     Accordingly, this Court should ignore Vizio’s baseless assertions when ruling on the
28
     Motion.
                                         28
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1    IV.   CONCLUSION
2          For all the foregoing reasons, and for all the reasons set forth in its moving papers
3    and accompanying Evidentiary Objections, SFC respectfully requests that this Court
4    grant this Motion and remand this action to the Orange County Superior Court.
5
     DATED: April 29, 2022                        RICHARD G. SANDERS, PLLC
6                                                 VAKILI & LEUS, LLP
7

8                                            By: /s/ Sa’id Vakili
9                                                Sa’id Vakili, Esq.
                                                 David N. Schultz, Esq.
10
                                                 Richard Sanders, Esq.
11                                               Stephen P. Hoffman, Esq.
                                                 Attorneys for Plaintiff Software Freedom
12
                                                 Conservancy, Inc.
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1                               CERTIFICATE OF SERVICE
2
                        Software Freedom Conservancy, Inc. v. Vizio, Inc.
                      U.S.D.C. C.D. Cal. Case No.: 8:21-cv-01943-JLS-KES
3

4
           I am employed in the County of Los Angeles, State of California. I am over the
     age of 18 and not a party to the within action; my business address is Vakili & Leus,
5    LLP, 3701 Wilshire Boulevard, Los Angeles, Suite 1135, Los Angeles, California
6    90010.
7
            On April 29, 2022, I served the foregoing document described as REPLY
     MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT OF MOTION
8
     OF PLAINTIFF SOFTWARE FREEDOM CONSERVANCY, INC. TO REMAND
9    ACTION TO STATE COURT on all interested parties in this action at the addresses
     listed below, as follows:
10
                    QUINN EMANUEL URQUHART & SULLIVAN, LLP
11
                                Michael E. Williams, Esq.
12                         michaelwilliams@quinnemanuel.com
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16
                              Los Angeles, California 90017
17
                               213/443-3000 | Fax: 213/443-3100
18
                                 Counsel for Defendant Vizio, Inc.
19

20           I hereby certify that on the 29th day of April 2022, I will cause to be served the
     above-referenced document via the United States District Court’s Electronic Filing
21
     Program on the designated recipient via electronic transmission through the CM/ECF
22   system on the Court’s website. The Court’s CM/ECF system will generate a Notice of
23
     Electronic Filing (“NEF”) to the filing party, the assigned judge, and any registered
     users in this action. The NEF will constitute service of the document. Registration as a
24   CM/ECF user constitutes consent to electronic service through the Court’s transmission
25   facilities.
26
                                                  /s/ Jason C. Ming
27
                                                  Jason C. Ming
28




                                     CERTIFICATE OF SERVICE
